                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

INDIANA STATE CONFERENCE                 )
OF THE NATIONAL                          )
ASSOCIATION FOR THE                      )
ADVANCEMENT OF COLORED                   )
PEOPLE (NAACP) and LEAGUE                )
OF WOMEN VOTERS OF                       )
INDIANA,                                 )
                                         )
                      Plaintiffs         )
                                         )
                     v.                  )       Case No. 1:17-cv-02897
                                         )
CONNIE LAWSON, in her official           )
capacity as Secretary of State for the   )
State of Indiana; J. BRADLEY             )
KING, in his official capacity as Co-    )
Director, Indiana Election Division;     )
ANGELA M. NUSSMEYER, in her              )
official capacity as Co-Director,        )
Indiana Election Division,               )
                                         )
                     Defendants.         )
                                         )

                                   COMPLAINT

      Plaintiffs, by and through their attorneys, the Brennan Center for Justice at

New York University School of Law, Quinn Emanuel Urquhart and Sullivan, LLP,

and McCain Law Offices, P.C., for their Complaint against Defendants, hereby

allege as follows:

                              NATURE OF THE ACTION

1.    This action is necessary to protect the sacred right of Indiana residents to

vote without interference and to prevent the unlawful removal of Indiana residents


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from the State’s voter registration rolls.     Specifically, this action addresses the

manner in which the recently enacted amendments to the Indiana Code expressly

violate the National Voter Registration Act of 1993 (“NVRA”), 52 U.S.C. §§ 20501–

20511 by: (i) removing voters from voter registration rolls without providing the

required notice, response opportunity, and waiting period; and (ii) utilizing the

Interstate Voter Registration Crosscheck (“Crosscheck”) in a manner that is not

uniform, reasonable, and nondiscriminatory. It is only through the grant of the

requested relief that Indiana voters will be protected from these flagrant violations

of federal law.

2.    The NVRA was enacted to protect United States citizens from discriminatory

and unfair registration laws, with particular emphasis on those practices that

negatively impact voter participation among minority groups, including racial

minorities. To this end, the NVRA establishes, among other things, standards and

procedures that protect against discriminatory practices in connection with voter

registration and ensure that accurate voter registration rolls are maintained.

3.    Among these protections, the NVRA expressly sets forth requirements states

must meet before removing a voter from the registration rolls. Pursuant to the

NVRA, an election administrator cannot remove a voter from the registration rolls

because the administrator thinks the voter has moved unless the voter: (i) receives

a formal notice, in writing, that the voter’s address needs to be confirmed; and (ii) is

given adequate opportunity to respond to the notice or demonstrate continued

residency by voting. The NVRA further mandates that the mechanism used to


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identify   voters   who    are      ineligible       must   be   reasonable,   uniform,   and

nondiscriminatory.

4.    Indiana Code § 3-7-38.2-5(d), as amended by Senate Enrolled Act No. 442

(“SB 442”), flagrantly violates these requirements by, among other things, removing

voters without the notice, response opportunity, and waiting period expressly

required by the NVRA. By using the Kansas-administered Crosscheck program to

identify voters who allegedly have moved and registered in another state without

the necessary protections, the Indiana Code, as amended by SB 442, also exposes

voters to removal based on a list maintenance procedure that is neither reasonable,

uniform, nor nondiscriminatory.

                                          PARTIES

5.    Plaintiff Indiana State Conference of the National Association for the

Advancement of Colored People (the “NAACP”) is a nonpartisan, nonprofit

organization chartered in 1940 and currently based in Gary, Indiana.                  It was

founded with the purpose of assisting African-American citizens to ensure political,

educational, social and economic equality of rights for all persons and to fight

against racial discrimination. The majority of its approximately 5,000 members are

residents of Indiana who are registered to vote in Indiana and who participate in all

aspects of the political process.

6.    Throughout its history, the NAACP has made it its mission to promote civic

engagement by educating voters, monitoring polls, and facilitating voter

registration.


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7.     As it has done historically, prior to the most recent presidential election the

NAACP launched a voter registration campaign focused on increasing minority

registration in the areas with the lowest rates of registration amongst minorities.

Last year, through its more than twenty-five local branches and college chapters,

the NAACP held at least seventy-five voter registration drives. Following the voter

registration deadline, the NAACP helped get voters to the polls, including by

providing rides to voting locations.

8.     SB 442 directly frustrates the NAACP’s civic mission and causes it to expend

its limited financial resources and dedicate disproportionate energy to rolling back

the illegal effects of the bill.   SB 442 will improperly purge eligible voters the

NAACP has already registered, force the NAACP to re-register improperly purged

voters, require the NAACP to unnecessarily expand its voter education programs to

prevent voter confusion, and compel the NAACP to increase its poll monitoring

efforts to aid unknowing purged voters and voters needing to cast provisional

ballots.

9.     Plaintiff the League of Women Voters of Indiana (the “League”) is a

nonpartisan, nonprofit organization founded in 1920 and based in Indianapolis,

Indiana. The vast majority of the approximately 1,100 members of the League are

residents of Indiana who are registered to vote in Indiana.

10.    The League conducts voter registration drives, encourages and assists

individuals in voting, and conducts other activities to boost civic engagement which

has been essential to its mission since its founding. Last year, the League, through


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its twenty-one local chapters, conducted at least one hundred voter registration

drives.

11.   SB 442 directly frustrates the League’s civic engagement mission and causes

it to expend its limited financial resources and dedicate disproportionate energy to

rolling back the illegal effects of the bill. SB 442 will improperly purge voters the

League has already registered, force the League to re-register improperly purged

voters, and redirect a portion of the League’s funds and resources that would have

gone to voter registration, get-out-the-vote, and civic engagement work to

ameliorating the consequences of the Secretary’s action. The League will have to

divert time, money, and resources from other activities to expend more time and

attention educating and assisting Indiana citizens with regard to improper voter

purges.

12.   Defendant Connie Lawson is the Secretary of State of the State of Indiana.

As Secretary of State, Defendant Lawson is responsible for overseeing elections

through the Indiana Election Division, which is one of the four main divisions of the

office of the Secretary of State. The Secretary of State is the state’s “chief election

official,” Ind. Code § 3-6-3.7-1, and is tasked with implementing the voter

registration list, in coordination with the Indiana Election Division, id. § 3-7-26.3-3.

This suit is being brought against Defendant Lawson in her official capacity.

13.   Defendants J. Bradley King and Angela Nussmeyer are Co-Directors of the

Indiana Election Division. Collectively, the Co-Directors of the Indiana Election

Division are designated as the state’s NVRA Officer. Id. § 3-7-11-1. The Election


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Division is a supporting division housed within the Office of the Secretary of State.

Id. § 3-6-4.2-1 (“The election division is established within the office of the secretary

of state.”); id. § 3-6-4.2-2 (“The secretary of state shall perform all ministerial duties

related to the administration of elections by the state” and the “election division

shall assist the commission and the secretary of state in the administration of this

title.”). This suit is being brought against Defendants King and Nussmeyer in their

official capacities.

                           JURISDICTION AND VENUE

14.    This Court has subject matter jurisdiction over this action under 28 U.S.C. §

1331 because this action arises under the laws of the United States; under 28 U.S.C.

§§ 1343(a)(3)-(4) and 1357 because this action seeks equitable and other relief

pursuant to an act of Congress providing for the protection of the right to vote; and

under 42 U.S.C. §§ 1983 and 1988 because this action seeks to enforce rights and

privileges secured by the laws of the United States.

15.    This Court has authority to issue declaratory and injunctive relief in this

action pursuant to 28 U.S.C. §§ 2201 and 2202.

16.    Venue is proper in this Court under 28 U.S.C. § 1391 because the events or

omissions giving rise to the claim occurred within this district.

                       NATIONAL VOTER REGISTRATION ACT

17.    The National Voter Registration Act of 1993, 52 U.S.C. §§ 20501–20511 (the

“NVRA”), sets forth mandatory procedures for state election officials that further

the statute’s several purposes, including to “increase the number of eligible citizens


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who register to vote in elections for Federal office;” “to protect the integrity of the

electoral process;” and “to ensure that accurate and current voter registration rolls

are maintained.” Id. § 20501(b)(1), (3)-(4).

18.       Section 8 of the NVRA protects registered voters against wrongful removal

from the voter registration lists in at least two pertinent ways: First, it prohibits

the removal of registered voters on the basis of change in residence unless the

registrant: (1) confirms the change of residence in writing; or (2) fails to respond to a

notice, the contents and manner of mailing of which are prescribed by the NVRA,

and fails to vote during the next two general election cycles after receiving the

notice. Id. § 20507(d)(1). Second, it requires that list maintenance programs must

be reasonable, uniform, and nondiscriminatory. Id. §§ 20507(a)(4), (b)(1).

19.       Section 8 of the NVRA mandates that, where a voter had not directly

confirmed a change of address or requested removal from the voter rolls, the state

cannot cancel the voter’s registration unless it has sent the voter: (1) a postage

prepaid and pre-addressed return card, sent by forwardable mail, on which the

registrant may state his or her current address; and (2) a notice to the following

effect:

          (A) If the registrant did not change his or her residence, or changed
          residence but remained in the registrar’s jurisdiction, the registrant
          should return the card not later than the time provided for mail
          registration …. If the card is not returned, affirmation or confirmation
          of the registrant’s address may be required before the registrant is
          permitted to vote in a Federal election during the period beginning on
          the date of the notice and ending on the day after the date of the
          second general election for Federal office that occurs after the date of
          the notice, and if the registrant does not vote in an election during


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       that period the registrant’s name will be removed from the list of
       eligible voters.

       (B) If the registrant has changed residence to a place outside the
       registrar’s jurisdiction in which the registrant is registered,
       information concerning how the registrant can continue to be eligible
       to vote.

Id. § 20507(d)(2).

20.   Election officials may not subsequently remove a voter based on change of

address unless the voter either confirms the move in writing or: (i) “has failed to

respond to” an address confirmation notice; and (ii) “has not voted or appeared to

vote (and, if necessary, correct[ed] the registrar’s record of the registrant’s address)

in an election during the period beginning on the date of the notice and ending on

the day after the date of the second general election for Federal office that occurs

after the date of the notice.” Id. § 20507(d)(1)(A)-(B).

21.   The NVRA instructs states to “conduct a general program that makes a

reasonable effort to remove the names of ineligible voters from the official lists of

eligible voters.” Id. § 20507(a)(4). The NVRA further mandates that any such

program “shall be uniform [and] nondiscriminatory.” Id. § 20507(b)(1).

          SB 442 WILL RESULT IN MULTIPLE NVRA VIOLATIONS

22.   Prior to the passage of SB 442, Indiana had a voter registration list

maintenance statute that, on its face, included certain NVRA notice and

confirmation procedures. Under the previous framework, the state would submit its

voter roll to the Crosscheck program, receive back a list of Indiana voters possibly

registered in other states, and follow a protocol designed to identify voters who had

registered in another state, and then send them an address confirmation notice.
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23.   SB 442 has changed Indiana’s list maintenance protocols to render it facially

noncompliant with federal law by: (i) removing the NVRA’s required notice and

waiting period; and (ii) employing an unreliable basis for removal. SB 442 does

not—and cannot—offer any cognizable justification for this noncompliance, as the

federal statute offers no exceptions.

24.   Prior to the passage of SB 442, the Indiana Code required that the Election

Division annually provide Indiana’s statewide voter registration list to the Kansas

Secretary of State so that it could be compared to the registration data of all other

states participating in Crosscheck. Ind. Code § 3-7-38.2-5(d) (2016). Within 30 days

of a determination that an Indiana voter had an “identical” “first name, last name,

and date of birth of the voter registered in the other state,” the NVRA official1

would provide the appropriate county voter registration office with the name of the

registrant (and any other information obtained). Id. Under the terms of the prior

law on its face, the county voter registration office would then engage in an

investigative and notice process to “determine” whether each individual identified

in the NVRA official’s report: (i) “is the same individual who is a registered voter of

the county” (a “matched voter”); (ii) “registered to vote in another state on a date

following the date that voter registered in Indiana;” and (iii) “authorized the

cancellation of any previous registration.”         Id. § 3-7-38.2-5(d)(1)-(3) (2016).

Importantly, if a matched voter had not authorized cancellation, the prior law

1  Ind. Code § 3-7-11-1 designates the co-directors of the election division as the
chief state election officials responsible for the coordination of state responsibilities
under the NVRA. Ind. Code § 3-5-2-33.7 defines these designees as NVRA officials.

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required that the county voter registration office “send an address confirmation

notice to the Indiana address of the voter.” Id. § 3-7-38.2-5(e) (2016).

25.   A voter would not, accordingly, be removed from the voter roll without

confirmation that the voter had, in fact, changed jurisdiction and been given notice

and a chance to respond as required by the NVRA.

26.   On April 13, 2017, the Governor of Indiana signed into law Senate Bill 442.

SB 442 flagrantly removes protections mandated by the NVRA and instead

unlawfully provides for the immediate removal of a voter based solely on the

possibility of changed residence reflected by the Crosscheck database which, as

detailed below, is unreliable and, in practice, leads to discriminatory results. The

law took effect on July 1, 2017.

27.   SB 442 states that Indiana “shall provide data from the statewide voter

registration list without cost to the Kansas Secretary of State to permit the

comparison of voter registration data in [Crosscheck].” SB 442 § 15(d). Within 30

days of receiving Crosscheck’s results, the NVRA Official is to identify to county

voter registration offices all Indiana voters who meet the statute’s minimum criteria

of a matching “first name, last name, and date of birth” with a voter registered in

another state. Id.

28.   Pursuant to SB 442, the county voter registration office then is permitted to

determine, based on an indication from the Crosscheck database, whether the

individual identified by Crosscheck is the individual registered in the county and if

other state registration postdates the Indiana registration. If such a determination


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is made, SB 442 mandates that “the county voter registration office shall cancel the

voter registration of that voter.” SB 442 § 15(d)-(e).

29.   The amendments in SB 442, in contravention of federal law, require no

inquiry, confirmation, or notice to a voter that his or her registration is being

canceled and thereby ensure that any unreliability in Crosscheck disenfranchises

voters with discriminatory effect.

30.   It is also notable that the penultimate version of SB 442 included a provision

which, consistent with federal law, required that the county voter registration office

determine whether the matched voter “authorized the cancellation of any previous

registration by the voter when the voter registered in another state” and, if not,

required that the office “send an address confirmation notice to the Indiana address

of the voter.”2 The enacted version of SB 442, however, removed this necessary

provision.

31.   Both (i) the automatic cancellation of a voter’s registration without the notice,

response and waiting period mandated by the NVRA; and (ii) reliance on a database

that has been established to be unreliable and discriminatory, expressly violate the

protections established by the NVRA and would deprive Indiana’s citizens of

fundamental federal voting rights protections.

32.   Co-Director Nussmeyer already has publicly declared an interpretation of SB

442 that facially violates the requirements of the NVRA. At the IVRA Conference

2 SB 442’s final amendment, in tracked changes, may be found on the Indiana
General Assembly’s website at https://iga.in.gov/static-
documents/7/d/e/0/7de0171f/SB0442.05. ENRH.pdf.

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from May 17–18, 2017, Nussmeyer gave a presentation explicitly stating that SB

442 overrides its predecessor’s notice requirement.3

 CROSSCHECK IS UNRELIABLE AND DISCRIMINATORY IN PRACTICE

33.   SB 442’s exclusive reliance on Crosscheck as the grounds for voter removal

renders the application of SB 442 non-uniform and discriminatory.

34.   In order for a list maintenance program based on change of address to

constitute a “reasonable effort” under the NVRA, it must be based on reliable

information of potential ineligibility.   Crosscheck’s unreliable methodology, high

error rate, and discriminatory impact violates the NVRA standard.

35.   As a participant in the Crosscheck program, Indiana uploads its voter records

to a server run by the Kansas Secretary of State, Kris Kobach. Mr. Kobach’s office

compares the data with each other member-state’s data, seeking duplicate records

and making results available to the uploading state. At least 30 states participate

in Crosscheck, which compares more than 100 million voter records.

36.   In practice, Crosscheck produces inaccurate results, false positives, and leads

to the discriminatory disenfranchisement of many legally registered voters.

37.   Among minority populations where the same or similar last names are more

common and first name naming conventions are more common and concentrated

3 See Angie Nussmeyer, Voter List Maintenance, IVRA Conference Presentation,

Slide 21 (May 17–18, 2017),
https://www.in.gov/sos/elections/files/Voter_List_Maintenance.2017.PPT (“After
July 1, 2017, a change in Indiana law will permit counties to cancel a voter record
matched to Interstate record after careful review. Before, state law required
counties to send the ‘Interstate Mailer’ if it wasn’t clear if the other state’s
registration form authorized cancellation in another jurisdiction.”).

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around historical periods that correspond with birth dates, the identification of

identical or similar names among a small sample of distinct voters has been

empirically established.4 Further, in a group of 180 people, it has been empirically

established that it is more likely than not that two will share the same birth date,

including year of birth.5

38.    When Crosscheck compares more than 100 million voter records, it

accordingly, incorrectly matches many distinct voters with common first names, last

names, and dates of birth.     And these incorrect matches are disproportionally

concentrated among minority voters.        Indeed, in existing studies, Crosscheck

flagged one in six Latinos, one in seven Asian-Americans, and one in nine African-

Americans as potential double registrants.6

39.    Crosscheck’s high rate of false positives has been well documented.       One

study found that Crosscheck’s standard procedure would eliminate the registrations

of about 200 unique, legitimate voters for every one individual it identified that was

4  Greg Palast, The GOP’s Stealth War on Voters, ROLLING STONE (Aug. 24, 2016)
http://www.rollingstone.com/politics/features/the-gops-stealth-war-against-voters-
w435890 (“Swedlund’s statistical analysis found that African-American, Latino and
Asian names predominate, a simple result of the Crosscheck matching process,
which spews out little more than a bunch of common names. No surprise: The U.S.
Census data shows that minorities are overrepresented in 85 of 100 of the most
common last names. If your name is Washington, there’s an 89 percent chance
you're African-American. If your last name is Hernandez, there’s a 94 percent
chance you’re Hispanic. If your name is Kim, there’s a 95 percent chance you’re
Asian.”).
5   See Myrna Pérez, BRENNAN CENTER FOR JUSTICE, VOTER PURGES 23 (2008),
http://www.brennancenter.org/sites/default/files/legacy/publications/Voter.Purges.f.p
df.
6   Palast, supra.

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registered in two jurisdictions. 7     The Crosscheck Participation Guide, itself,

concedes that “a significant number of apparent double votes are false positives and

not double votes.”8

40.   These statistics establish that without the necessary federally mandated

protections, use of Crosscheck risks severe, discriminatory disenfranchisement of

registered voters in violation of federal law.

41.   The only possible justification for SB 442—that it is necessary to protect

against voter fraud—is both false and irrelevant. The NVRA and Federal law do

not excuse a failure to include the necessary mandated protections on the ground

that a state law purports to prevent voter fraud.

42.   Moreover, not only by all accounts is rampant voter fraud in the United

States a myth, 9 but empirical evidence establishes that SB 442 and Crosscheck


7 Goel et al., One Person, One Vote: Estimating the Prevalence of Double Voting in
U.S. Presidential Elections, 30 (Jan. 13, 2017) https://5harad.com/papers/1p1v.pdf
(“Not only would few double votes be eliminated by purging the voter registration
rolls of the cases identified by Crosscheck, but many legitimate votes would be
impeded by such a purge. . . . [A]t least in Iowa, 200 legitimate voters may be
impeded from voting for every double vote stopped. This suggests the policies
necessary to stop the relatively small number of double votes that do occur would
put many more legitimate votes in jeopardy.”).
8  2014 Participation Guide, INTERSTATE VOTER REGISTRATION DATA CROSSCHECK, 5
(Dec.                                                                      2013),
https://wei.sos.wa.gov/agency/osos/en/press_and_research/weekly/Documents/Partici
pat ion%20Guide%20with%20Comments.pdf.
9  See Justin Levitt, The Truth About Voter Fraud, BRENNAN CENTER FOR JUSTICE
(2007)
http://www.brennancenter.org/sites/default/files/legacy/The%20Truth%20About%20
Voter%20Fraud.pdf (finding voter fraud rates of incidence between 0.0003% and
0.0025% and noting that Americans are more likely to be struck by lightning than
impersonate another voter at the polls); Justin Levitt, A comprehensive

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would not even identify such fraud if it did exist. Indeed, of the 7.2 million double

registrations Crosscheck had purportedly identified before the 2016 election, only

four individuals had been charged with double voting or deliberate double

registration, according to a 2016 report.10

43.      This inherent lack of efficacy is evidenced by Indiana’s sister-states’

experiences. For example, in Virginia, prior to a statewide 2013 election, the state

instructed county officials to review and cancel voter records based on a Crosscheck

report. Local officials soon discovered error rates as high as 17 percent. In some

cases, Crosscheck identified individuals as having moved from Virginia to another

state, when in fact the opposite was true—indicating that Crosscheck’s data is

inherently flawed and includes the names of individuals who are not ineligible.11

44.      Based on similar experiences, Florida, Oregon, and Washington each

withdrew their participation in recent years.      A spokesperson for the Oregon



investigation of voter impersonation finds 31 credible incidents out of one billion
ballots cast, THE WASH. POST (Aug. 6, 2014) https://www.washingtonpost.com
/news/wonk/wp/2014/08/06/a-comprehensive-investigation-of-voter-impersonation-
finds-31-credible-incidents-out-of-one-billion-ballots-cast (finding 31 credible
instances of impersonation fraud from 2000 to 2014, out of more than 1 billion votes
cast, and fewer prosecutions or convictions); Philip Bump, There have been just four
documented cases of voter fraud in the 2016 election, THE WASH. POST (Dec. 1, 2016)
https://www.washingtonpost.com/news/the-fix/wp/2016/12/01/0-000002-percent-of-
all-the-ballots-cast-in-the-2016-election-were-fraudulent (reviewing the 2016
election and finding just four cases of voter fraud).
10    Palast, supra.
11 Jonathan Brater, Virginia Offers Lessons for Voter List Maintenance, BRENNAN
CENTER FOR JUSTICE (Nov. 25, 2013)
https://www.brennancenter.org/analysis/virginia-offers-lessons-voter-list-
maintenance.

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Secretary of State confirmed that they did so “because the data [they] received was

unreliable.”12 In 2012, Florida Governor Rick Scott reported that he was incorrectly

purged from the voter rolls because an individual with the same name had died.13

45.      By exclusively relying on Crosscheck to remove voters from voter rolls

without registrant notice, response opportunity, and a waiting period before

removal, SB 442 thus disenfranchises Indiana’s voter in violation of the

proscriptions of the NVRA.

        PLAINTIFF PROVIDED THE NECESSARY NOTICE TO INDIANA
                            OFFICIALS

46.      On May 25, 2017, Plaintiff NAACP, along with the Brennan Center for

Justice and Service Employees International Union, sent a notice to Secretary

Lawson, pursuant to 52 U.S.C. § 20510(b), that the recently enacted amendments to

the Indiana Code expressly violate the NVRA.14 The Secretary of State’s General

Counsel, Jerold A. Bonnet, acknowledged receipt on behalf of the Secretary of State,

stating: “We are currently conferring with the Co-Directors of the Indiana Election




12 Jon Greenberg & Amy Sherman, Florida no longer part of controversial national
voter project, MIAMI HERALD, Apr. 11, 2014,
https://miamiherald.typepad.com/nakedpolitics/2014/ 04/florida-no-longer-part-of-
controversial-national-voter-data-project.html.
13 Lloyd Dunkelberger, Elections officials told Rick Scott he was dead and couldn’t
vote, SARASOTA HERALD-TRIBUNE (Jun. 14, 2012)
http://politics.heraldtribune.com/2012/06/14/scott-mistakenly-declared-dead-on-
voting-rolls.
14    May 25, 2017 Letter from Myrna Pérez et al. to Secretary Lawson.

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Division . . . . It’s my expectation that a considered response to your letter will be

provided in the near future.”15

47.      Mr. Bonnet later sent a long response as to the SB 442’s compliance with the

requirements of the NVRA. Mr. Bonnet’s response confirmed that the Secretary of

State intended for SB 442 to be implemented in violation of the NVRA 16 , by

removing voters from voter registration rolls without providing the required notice,

response opportunity and waiting period. 17        The response confirmed that the

letter’s positions were jointly held by Indiana’s NVRA Officials, the Co-Directors of

the Election Division.18 Thus, all three Defendants have been noticed, pursuant to

52 U.S.C. § 20510(b).




15  The Secretary of State is also empowered by the Indiana Code to act when the
NVRA Officials fail to act in dereliction of their duties. Ind. Code 3-7-38.2-18 (2013)
(“If the NVRA official does not perform a duty in accordance with this chapter, the
secretary of state shall perform the duty.”).
16  Mr. Bonnet’s response indicated that the state would impose additional
requirements, on top of what was required by statute (such as additional matching
criteria), but did not list among these a notice, confirmation, and waiting period
process.
17 July 13, 2017 Letter from Jerold A. Bonnet to Myrna Pérez, et. al. (“Though

NVRA applies specifically to a variety of situations, it does not prohibit immediate
cancellation of a duplicate previous voter registration based upon reliable, uniform,
nondiscriminatory, information received from a voter registration official who has
accepted a subsequent registration.”) (emphasis in original text).
18 Id.(“Indiana’s NVRA officials have adopted the position that a voter registration
application, signed and affirmed under the penalty of perjury constitutes a
registrant’s authorization to cancel previous registrations.”).

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48.     On July 20, 2017, the Co-Directors of the Election Division sent a letter

confirming that the Election Division had received the letter dated May 25, 2017.19

Plaintiffs have received no further correspondence from the Election Division.

                                     COUNT I
                   (Violation of the NVRA, 52 U.S.C. §20507(d))

49.     Plaintiffs reallege every allegation of the preceding paragraphs as though

fully set forth herein.

SB 442 Violates the NVRA Because It Does Not Provide Notice, the
Opportunity to Respond and a Proper Waiting Period

50.     Under the NVRA, if a state undertakes to remove registered voters on the

basis of a change in residence, the state must provide that voter with notice, the

opportunity to respond to that notice, and a proper waiting period for response. In

particular, the NVRA prohibits such removals unless the registrant either: (1)

confirms the change of residence in writing, or (2) fails to respond to a notice, the

contents and manner of mailing of which are prescribed by the NVRA, and fails to

vote during the next two general federal election cycles after receiving the notice.

Id. §20507(d).

51.     Adequate notice for such a removal must be provided by “a postage prepaid

and pre-addressed return card, sent by forwardable mail, on which the registrant

may state his or her current address.” Id. §20507(d)(2).




19 July 20, 2017 Letter from J. Bradley King and Angela M. Nussmeyer to Myrna

Pérez

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52.     On its face, Indiana Code § 3-7-38.2-5(d), effective July 1, 2017 as amended

by SB 442, violates the NVRA by requiring the removal of voters without the

requisite notice, response opportunity, and waiting period required by federal law.

SB 442’s Reliance on Crosscheck Violates the NVRA’s Prohibition Against
Arbitrary, Unreasonable, and Discriminatory Removals of Voters from
Registration Rolls

53.     The NVRA instructs states to “conduct a general program that makes a

reasonable effort to remove the names of ineligible voters from the official lists of

eligible voters.”   Id. §20507(a)(4).   The NVRA further mandates that any such

program “shall be uniform [and] nondiscriminatory.” Id. §20507(b)(1).

54.     Likewise, the unreliable and discriminatory manner in which Crosscheck has

been implemented, and the fact that SB 442 does not require state election officials

to determine the accuracy of any voters flagged by Crosscheck, violates the NVRA’s

prohibition against arbitrary, unreasonable, and discriminatory removals of voters

from registration rolls.

55.     By depriving registered voters and qualified citizens of the NVRA’s

safeguards prior to removing their names from the voting rolls, SB 442 creates the

real and immediate risk that Plaintiffs’ members will be deprived of their right to

vote.

56.     Absent this Court’s intervention, Plaintiffs and their members will suffer

irreparable injury as a result of Defendants’ implementation of the provisions of SB

442 in a way that interferes with Plaintiffs’ federal rights.




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57.   Plaintiffs and their members have no adequate remedy at law for the

deprivation of federal voting rights and interference with their ability to protect

their members’ interests caused by Defendants’ actions.

58.   Defendants    must   be   preliminarily   and   permanently   enjoined   from

implementing the SB 442 amendments to Indiana Code § 3-7-38.2-5(d) in a way

that violates the NVRA’s requirements of notice and a waiting period.



WHEREFORE, Plaintiffs pray that the Court order the following relief and

remedies:

      1.    Declare that the voter removal provisions of Indiana SB 442 violate 52

      U.S.C. §20507(d);

      2.    Grant a temporary restraining order, preliminary injunction, and

      permanent injunction enjoining Defendants and any officers, agents,

      employees, attorneys, and all persons who are in active concert or

      participation with them from canceling the registration of voters without

      following the required procedures set forth in 52 U.S.C. §20507(d)

      3.    Award Plaintiffs’ attorneys’ fees and costs; and

      4.    Award all such other and further relief as the Court deems to be just

      and equitable.




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                                            Respectfully submitted,



                                            /s/ Trent A. McCain
                                            One of Plaintiff’s Attorneys




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